       Case 1:22-cr-00015-APM           Document 871         Filed 07/11/24       Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

                         v.
                                                            No. 22-cr-15 (APM)
    EDWARD VALLEJO,
                                   Defendant.



             SUPPLEMENTAL CITATION IN SUPPORT OF CONDITIONAL
                        RELEASE PENDING APPEAL

       The defendant, Edward Vallejo, through his attorneys, respectfully supplements the

previous briefing with the Supreme Court’s decision in Fischer v. United States, No. 23-5572,

2024 WL 3208034 (U.S. June 28, 2024).

       In his motion for bail pending appeal, Mr. Vallejo argued that “there is a substantial

question as to whether the statute underlying his felony convictions on Counts 2 and 3 for

obstruction under 18 U.S.C. § 1512(c)(2) applies to his conduct on January 6, 2021, given the

Supreme Court’s decision to grant certiorari in Fischer v. United States, 144 S. Ct. 537 (2023).”

ECF 863 at 1. In Fischer, the Supreme Court held that, contrary to this Court’s ruling regarding

the scope of the obstruction statute, the “otherwise” section of the statute is limited to acts that

affect the integrity or availability of evidence: “subsection (c)(2) makes it a crime to impair the

availability or integrity of records, documents, or objects used in an official proceeding in ways

other than those specified in (c)(1)[,]” and “ensures that liability is still imposed for impairing the

availability or integrity of other things used in an official proceeding beyond the ‘record[s],




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       Case 1:22-cr-00015-APM           Document 871        Filed 07/11/24       Page 2 of 2




document[s], or other object[s]’ enumerated in (c)(1), such as witness testimony or intangible

information.” 2024 WL 3208034 at *6 (emphasis in original; citation omitted).

       The jury instructions in this case and the indictment both omit the necessary element of

evidence impairment required by the Court in Fischer. ECF 167 at 33-34; ECF 457 at 25-26.

Where the jury’s verdict encompassed conduct beyond the coverage of the criminal statute, the

conviction must be reversed. Skilling v. United States, 561 U.S. 358, 414 (2010) (constitutional

error occurs when a jury returns a general verdict that may rest on a legally invalid theory) (citing

Yates v. United States, 354 U.S. 298 (1957)); Zant v. Stephens, 462 U.S. 862, 881 (1945). Given

the lack of proof regarding “records, documents, or objects,” the insufficiency of the evidence

should require dismissal with prejudice. Burks v. United States, 437 U.S. 1, 16 (1978). The Court’s

decision in Fischer supports Mr. Vallejo’s request for release pending appeal.


                                              Respectfully submitted,

                                               s/ Stephen R. Sady         .
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